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                                                  D: +1 202 974 1690
                                                  dgelfand@cgsh.com




                                                November 2, 2020
                                                                               MEMO ENDORSED
       VIA ECF AND EMAIL

       The Honorable Katherine Polk Failla
       United States District Court, S.D.N.Y.
       40 Foley Square
       New York, NY 10007

                      Re: Iowa Pub. Emps.’ Ret. Sys., et al. v. Bank of Am. Corp., et al.,
                      Case No. 17-cv-6221 (KPF) (S.D.N.Y.)

       Dear Judge Failla:

               EquiLend respectfully requests leave to file its pre-motion letter provisionally under seal
       until such time as the Court can determine whether this filing should remain sealed. This request
       is made pursuant to paragraph 9(C)(ii) of this Court’s Individual Rules of Practice.

               Prior briefing related to the subject matter of this pre-motion letter was filed under seal
       out of fairness to the individuals involved, as EquiLend was still investigating the relevant facts
       and had not yet reached its own determination of misconduct. EquiLend now has a sufficient
       record on which to base a motion for sanctions. The basis for filing the prior briefing under seal
       therefore no longer exists, and EquiLend is not aware of any other basis for future briefing to
       occur under seal, but has filed this letter provisionally under seal to afford plaintiffs an
       opportunity to express their views and the Court an opportunity to decide the matter.

                                                                         Respectfully yours,
                                                                         /s/ David I. Gelfand_______
                                                                         David Gelfand
       cc:   All Counsel of Record (via email and ECF)
Application GRANTED. Defendant shall file their letter under seal, visible
only to the Court and parties.
                                                       SO ORDERED.
Dated:     November 2, 2020
           New York, New York


                                                                       HON. KATHERINE POLK FAILLA
                                                                       UNITED STATES DISTRICT JUDGE
